        Case 1:17-cv-02965-AT Document 158 Filed 03/22/19 Page 1 of 7




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 POWERBAHN, LLC,

       Plaintiff,
                                                     Civil Action File No.
              v.
                                                     1:17-CV-02965-AT
 FOUNDATION FITNESS LLC and
 WAHOO FITNESS, LLC,
                                                      Special Master
       Defendants.                                    William H. Needle



     PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT
               AND SUPPORTING MEMORANDUM

      Plaintiff POWERbahn, LLC (“POWERbahn”) respectfully moves, pursuant

to Rule 15(a) of the Federal Rules of Civil Procedure, for leave to file the Proposed

First Amended Complaint (“FAC”) attached hereto as Exhibit 1.

      In support of this motion, POWERbahn shows that (a) its proposed

additional claim for correction of inventorship did not arise until the issuance of

Wahoo’s U.S. Patent No. 10,046,222 (“the ’222 Patent”) on August 14, 2018,

(b) its other proposed additional claims (other than induced infringement), derive,

in whole or in part, from the same set of facts as its correction of inventorship
        Case 1:17-cv-02965-AT Document 158 Filed 03/22/19 Page 2 of 7




claim; and (c) its proposed FAC will not require any alteration of the parties’

proposed discovery schedule.

                       ARGUMENT AND AUTHORITIES

      Federal Rule of Civil Procedure 15(a) provides that leave to amend a

complaint should be “freely give[n] … when justice so requires.” Fed. R. Civ. P.

15(a)(2). “Rule 15(a) severely restricts the district court’s freedom” to deny leave

to amend; “unless a substantial reason exists to deny leave to amend, the discretion

of the district court is not broad enough to permit denial.” Shipner v. E. Air Lines,

Inc., 868 F.2d 401, 407 (11th Cir. 1989); see also, e.g., Luxottica Grp. v. Airport

Mini Mall, LLC, 169 F. Supp. 3d 1343, 1345 (N.D. Ga. 2016). “Thus, the Court

should deny leave to amend only where the amendment will result in undue delay,

bad faith, undue prejudice, a repeated failure to cure deficiencies by amendments

previously allowed, or futility.” Luxottica Grp., 169 F. Supp. 3d at 1345; accord

Foman v. Davis, 371 U.S. 178, 182 (1962) (emphasis added). None of those

circumstances is present here.

      POWERbahn’s proposed amendment would be the first amendment to the

original complaint in this action. Although the original scheduling order entered in

the District of Nevada [Document 73] called for amendments to the pleadings to be

filed by April 1, 2017, that scheduling order was entered before the parties’ early


                                          2
        Case 1:17-cv-02965-AT Document 158 Filed 03/22/19 Page 3 of 7




attempt to mediate this case, and before the case was transferred to this Court, both

of which caused a substantial pause in the case proceedings. In addition,

POWERbahn’s lead counsel in this matter has changed twice since entry of that

order. Now that the asserted patent claims have been construed by the Court and

the parties have proposed a schedule for completing discovery expeditiously,

POWERbahn shows that good cause exists to allow POWERbahn to amend its

complaint in this case for the reasons set forth below.

      First, POWERbahn’s proposed claims for induced infringement (Counts 2

and 4 of the proposed FAC) relate directly to the direct and willful patent

infringement claims asserted in the original complaint, and merely add

Foundation’s officer, Patrick Warner, as a party defendant in addition to

Foundation, based on the fact asserted in the proposed FAC.

      Second, POWERbahn’s proposed claim for correction of inventorship of the

recently issued Wahoo patent (Count 5 of proposed FAC) could not have been

brought until the Wahoo patent issued in August of 2018. See 35 U.S.C. § 256(a)

(correction available for “issued patent”); Pappalardo v. Stevins, 746 F. App'x 971,

974 (Fed. Cir. 2018) (“‘A § 256 claim for correction of inventorship does not

accrue until the patent issues.’ Hor v. Chu, 699 F.3d 1331, 1335 (Fed. Cir.

2012).”). Because POWERbahn’s correction of inventorship claim could not have


                                          3
        Case 1:17-cv-02965-AT Document 158 Filed 03/22/19 Page 4 of 7




been asserted before the Wahoo ’222 Patent issued on August 14, 2018, and

because this claim arises from facts generally related to the underlying

infringement claims in this case, good cause exists to allow this claim, and the

other proposed additional claims, to be asserted now in the proposed FAC.

      Third, thirteen days after Wahoo’s ’222 Patent issued, the Special Master

issued his Report and Recommendation on Claim Construction [D136]. In the

midst of analyzing the Special Master’s Report and asserting and briefing its

objections to it, POWERbahn and its former lead counsel parted ways, and

POWERbahn was forced to engage new lead trial counsel. Undersigned new lead

trial counsel was engaged in October 2018 and immediately faced completing

claim construction briefing and getting up to speed on this case as quickly as

possible to be prepared to proceed promptly upon the Court’s entry of its claim

construction order. During that investigation, counsel became aware of the

additional claims asserted in the proposed FAC. These claims include proposed

new Counts 6-14, which arise, in whole or in part, from the same overall common

set of facts underlying POWERbahn’s proposed correction of inventorship claim

under Section 256 concerning Wahoo’s ’222 Patent (Count 5), as set forth in detail

in the proposed FAC.




                                          4
         Case 1:17-cv-02965-AT Document 158 Filed 03/22/19 Page 5 of 7




       Fourth, the facts underling its proposed additional claims also overlap the

facts underlying its original patent infringement claims and would not require

substantial additional depositions or discovery. The proposed additional claims

involve the same parties, with only the addition of Foundation officer, Pat Warner,

who will be deposed for the underlying patent infringement claim with or without

the proposed FAC. The proposed additional claims will also involve discovery

concerning the same accused products as the underlying patent infringement

claims. POWERbahn thus believes (a) that it can complete all discovery necessary

to prepare these claims for trial within the deadlines proposed in the parties’ Joint

Status Report, and (b) that allowing these additional claims will not delay the

parties’ preparations for trial.

       For the foregoing reasons and for good cause shown, POWERbahn

respectfully requests that the proposed new claims asserted in its proposed FAC be

added to this case so discovery, expert discovery, settlement discussions, trial

preparation, and trial itself can be conducted in the most efficient manner possible,

with all issues existing between the parties on the table and before the Court.


       Respectfully submitted, this 22nd day of March, 2019.

                                              /s/Daniel A. Kent
                                              Daniel A. Kent
                                              Georgia Bar No. 415110

                                          5
       Case 1:17-cv-02965-AT Document 158 Filed 03/22/19 Page 6 of 7




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                    CERTIFICATE OF COMPLIANCE

     Pursuant to Local Rules 5.1B and 7.1D, this certifies that the foregoing brief

has been prepared with Times New Roman 14 point font.

     This 22nd day of March, 2019.


                                            /s/Daniel A. Kent
                                            Daniel A. Kent




                                        6
        Case 1:17-cv-02965-AT Document 158 Filed 03/22/19 Page 7 of 7




                         CERTIFICATE OF SERVICE

      I certify that today I served a true and correct copy of the following

document using the Court’s CM/ECF system, which will automatically serve a

copy on all counsel of record.

      Respectfully submitted, this 22nd day of March, 2019.

                                              /s/Daniel A. Kent
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                                          7
